Case 9:18-cr-80109-RLR Document 22 Entered on FLSD Docket 06/11/2018 Page 1 of 7



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         Case No. 18-80109-Cr-ROSENBERG/REINHART


  UNITED STATES OF AMERICA,

                                Plaintiff,

  vs.

  JOHN JOSEPH O’GRADY,

                                Defendant.
                                                /

                              GOVERNMENT=S RESPONSE TO
                            THE STANDING DISCOVERY ORDER

         COMES NOW the United States of America, by and through the undersigned Assistant

  United States Attorney and hereby files this response to the Standing Discovery Order. This

  response also complies with Local Rule 88.10 and Federal Rule of Criminal Procedure 16, and is

  numbered to correspond with Local Rule 88.10.           Pursuant to Local Rule, all referenced

  attachment pages are attached to defense counsel=s copy of this response and not the pleading filed

  with the Court.

         A.      1.     The Defendant made two (2) written or recorded post-Miranda statements

                        to then known law enforcement officer in this case, digital copies of which

                        are attached to defense counsel’s copy of this response in two (2) DVD’s

                        marked “BBPD Post-Miranda Statement, FID 10538009 [Disk] 1” and

                        “Post-Miranda Statement, Fed Arrest , 5/9/18 [Disk] 3 ”

                 2.     Copies of reports containing oral statements made by the defendant after

                        arrest in response to interrogation by any person then known to the
Case 9:18-cr-80109-RLR Document 22 Entered on FLSD Docket 06/11/2018 Page 2 of 7



                   defendant to be a government agent that the government intends to use at

                   trial are attached to defense counsel’s copy of this response..

             3.    This defendant did not testify before the Grand Jury.

             4.    A copy of the defendant=s NCIC/FCIC criminal history is attached to

                   defense counsel’s copy of this response.

             5.    Books, papers, documents, photographs, tangible objects, buildings or

                   places which the government intends to use as evidence at trial to prove its

                   case in chief, or were obtained or belonging to the defendant may be

                   inspected at a mutually convenient time at the United States Attorney’s

                   Office at the address below the filing party’s signature line. The

                   undersigned will tentatively set the date for Tuesday, June 26, 2018, at 2:00

                   p.m.     Please call the undersigned with 48 hours notice if you intend to

                   review the evidence at this date and time.

                           That evidence includes, but is not limited to:

                   a.      Originals of any items or documents referenced in attached reports

                           and evidence inventory sheets attached thereto.

                   The attachments to this discovery response are not necessarily copies of all

                   the books, papers, documents, etc., that the government may intend to

                   introduce at trial.

             6.    There were no physical or mental examinations made in connection with

                   this case.

       B.          DEMAND FOR RECIPROCAL DISCOVERY: The United States requests


                                            -2-
Case 9:18-cr-80109-RLR Document 22 Entered on FLSD Docket 06/11/2018 Page 3 of 7



                   the disclosure and production of materials enumerated as items 1, 2 and 3

                   of Section B of the Standing Discovery Order. This request is also made

                   pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure.

       C.          At present, the government is not aware of any material which may be

                   favorable on the issues of guilt or punishment within the scope of Brady v.

                   Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97

                   (1976), except to the extent to the extent the defense may construe any of

                   the materials attached hereto as such.

       D.          The government will disclose any payments, promises of immunity,

                   leniency, preferential treatment, or other inducements made to prospective

                   government witnesses, within the scope of Giglio v. United States, 405 U.S.

                   150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959). However, no such

                   witnesses are known to the government at present.

      E.           There are no witnesses possessed of a criminal history known to the

                   government at present.

       F.          The defendant was not identified in photo spread or similar identification

                   proceeding.

       G.          The government has advised its agents and officers involved in this case to

                   preserve all rough notes.

       H.          The government will timely advise the defendant of its intent, if any, to

                   introduce during its case in chief proof of evidence pursuant to F.R.E.

                   404(b). You are hereby on notice that all evidence made available to you


                                               -3-
Case 9:18-cr-80109-RLR Document 22 Entered on FLSD Docket 06/11/2018 Page 4 of 7



                   for inspection, as well as all statements disclosed herein or in any future

                   discovery letter, may be offered in the trial of this cause, under F.R.E.

                   404(b) or otherwise (including the inextricably-intertwined doctrine), to

                   show knowledge, intent, identity, common scheme or plan and absence of

                   mistake.   Although the government believes such clearly inextricably

                   intertwined evidence, in an abundance of caution, notice is specifically

                   given of the government’s intent to utilize the defendant’s acts and

                   statements to BestBuy personnel as detailed in the attached reports which

                   precede the date of arrest (see attachment page 49) and well as the items

                   found in the defendant’s constructive possession in his vehicle, (see

                   attached DVD marked “BBPD Car Search BestBuy Contact, 3/21/18, FID

                   01538009 [Disk] 2,” and at his residence, at detailed in the report on

                   attachment page 19, in which both instances additional U.S. Marshals

                   Service paraphernalia was discovered.

       I.          The defendant is not, at present, an aggrieved person, as defined in Title 18,

                   United States Code, Section 2510(11), of any electronic surveillance.

       J.          The government has ordered transcribed the Grand Jury testimony of all

                   witnesses who will testify for the government at the trial of this cause.

       K.          There are no controlled substances at issue in this case.

       L.          There are no vehicles currently under seizure by the United States in this

                   case.

       M.          No latent fingerprint comparison was done in this case.


                                            -4-
Case 9:18-cr-80109-RLR Document 22 Entered on FLSD Docket 06/11/2018 Page 5 of 7



         N.              At present, the government is unaware of any expert witnesses which would

                         fall within this obligation. Should the government subsequently identify

                         any, the government shall respond in a separate, purpose-specific response

                         at that time.

         O.              The government will make every possible effort in good faith to stipulate to

                         all facts or points of law the truth and existence of which is not contested

                         and the early resolution of which will expedite trial. These stipulations will

                         be discussed at the discovery conference.

         P.              At the discovery conference scheduled in Section A.5, above, the

                         government will seek written stipulations to agreed facts in this case, to be

                         signed by the defendant and defense counsel.

         The government is aware of its continuing duty to disclose such newly discovered

  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules

  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

         In addition to the request made above by the government pursuant to both Section B of

  the Standing Discovery Order and Rule 16(b) of the Federal Rules of Criminal Procedure, in

  accordance with Rule 12.1 of the Federal Rules of Criminal Procedure, the government hereby

  demands Notice of Alibi defense. The approximate time, date and location are as follows:

         Time:           2:00 pm – 3:00 pm
         Date:           03/21/2018
         Location:       BestBuy store located at 550 North Congress Ave., Boynton Beach,
                         Palm Beach County, Florida.

         The attachments to defense counsel’s copy of this response are numbered pages 1-49 and

  and include three (3) DVDs, labeled “BBPD Post-Miranda Statement, FID 10538009 [Disk] 1”

                                                  -5-
Case 9:18-cr-80109-RLR Document 22 Entered on FLSD Docket 06/11/2018 Page 6 of 7



  “BBPD Car Search BestBuy Contact, 3/21/18, FID 01538009 [Disk] 2,” and “Post-Miranda

  Statement, Fed Arrest , 5/9/18 [Disk] 3.” Please contact the undersigned Assistant United States

  Attorney if any pages/items are missing.

                                              Respectfully submitted,

                                              BENJAMIN G. GREENBERG
                                              UNITED STATES ATTORNEY


                                       BY:      s/ John C. McMillan
                                              JOHN C. McMILLAN
                                              ASSISTANT UNITED STATES ATTORNEY
                                              Admin. No. A5500228
                                              500 S. Australian Ave., Suite 400
                                              West Palm Beach, FL 33401
                                              Office: (561) 820-8711
                                              FAX:      (561) 820-8777
                                              Email: John.McMillan@usdoj.gov




                                                -6-
Case 9:18-cr-80109-RLR Document 22 Entered on FLSD Docket 06/11/2018 Page 7 of 7



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Government=s Response

  to the Standing Discovery Order with attachments was hand delivered June 11, 2018, to counsel

  for the defendant below. I further certify that on June 11, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF:

                                             Peter Birch
                            Supervisory Assistant Federal Public Defender
                                  450 S Australian Ave., Suite 500
                                    West Palm Beach, FL 33401



                                         By:       s/ John C. McMillan
                                                 JOHN C. McMILLAN
                                                 ASSISTANT UNITED STATES ATTORNEY




                                                   -7-
